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                  EXHIBIT A
ROBERT M. MILLER, Plaintiff, v. MERRICK GARLAND, et..., --- F.Supp.3d ---- (2023)
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                                                                       inches or a barrel or barrels of less than 16 inches in length.”
                    2023 WL 3692841                                       26 U.S.C. §§ 5845(a)(3), (4). The NFA defines a rifle as:
      Only the Westlaw citation is currently available.
        United States District Court, E.D. Virginia.
                                                                                    [A] weapon designed or redesigned,
            ROBERT M. MILLER, Plaintiff,
                                                                                    made or remade, and intended to be
                       v.
                                                                                    fired from the shoulder and designed
         MERRICK GARLAND, et al., Defendants.                                       or redesigned and made or remade to
                                                                                    use the energy of the explosive in a
           Civil Action No. 1:23-cv-195 (RDA/JFA)
                                                                                    fixed cartridge to fire only a single
                               |
                                                                                    projectile through a rifled bore for
                       Filed 05/26/2023
                                                                                    each single pull of the trigger, and
                                                                                    shall include any such weapon which
                                                                                    may be readily restored to fire a fixed
       MEMORANDUM OPINION AND ORDER                                                 cartridge.
Rossie D. Alston, Jr. United States District Judge

 *1 This matter comes before this Court on Plaintiff's Motion
                                                                          Id. § 5845(c). The Act requires short-barreled rifles to be
for a Nationwide Temporary Restraining Order (“TRO”)
                                                                       registered in the National Firearms Registration and Transfer
(Dkt. 16) and a Preliminary Injunction (Dkt. 17). This
matter has been fully briefed and argued and is now ripe               Record to a person entitled to possess the firearm.     Id. §
for disposition. Considering the Motion, the supporting                5841. Short-barreled rifles are also subject to certain taxes
memoranda (Dkt. Nos. 16; 17), the Defendants' Response                 for ownership as well as transfer.      Id. §§ 5811,      5812,
(Dkt. 22), Plaintiff's Reply (Dkt. 26), as well as the arguments
raised at the hearing held before this Court on April 12, 2023,           5821,     5822.
this Court DENIES Plaintiff's Application for a Nationwide
TRO and a Preliminary Injunction (Dkt. Nos. 16;17) for the             In 1968, Congress enacted the Gun Control Act of 1968
reasons that follow.                                                   (“GCA”),     18 U.S.C. §§ 921-931, which expanded federal
                                                                       firearms regulation to address the “widespread traffic in
                                                                       firearms and ... their general availability to those whose
                      I. BACKGROUND                                    possession thereof was contrary to the public interest.”
                                                                         Huddleston v. United States, 415 U.S. 814, 825-26 (1974).
           A. Statutory and Regulatory Background                      The GCA built upon the NFA and defined additional terms
                                                                       that were not defined in the NFA, such as “handgun.”         18
Congress enacted the National Firearms Act of 1934 (“NFA”)
in an attempt to regulate firearms in response to the emergence        U.S.C. §§ 921-     22. The GCA's definition of rifle, however,

of organized crime. Lomont v. O'Neill, 285 F.3d 9, 11 (D.C.            remained the same as set forth in the NFA.      Id. § 921(a)(7).
Cir. 2002). The NFA focuses on the regulation of weapons
such as machine guns, sawed-off shotguns and silencers. Id.            Congress vested the authority to enforce and administer both
(internal citations omitted). There are eight specific categories      statutory schemes in the Attorney General of the United
under the NFA that are subject to registration and use                 States, who then delegated that authority to the Bureau of
                                                                       Alcohol, Tobacco, Firearms, and Explosives (“ATF”). 28
requirements.      26 U.S.C. §§ 5801-         02,     5811-     12,
                                                                       C.F.R. § 0.130. Since then, consistent with its delegated
   5821- 22,          5841,      5845(a). At issue in this case is     authority, ATF has promulgated rules classifying whether
the registration requirements for short-barreled rifles. A short-      various weapons and devices qualify as firearms under the
barreled rifle is a rifle that has “a barrel or barrels of less than   NFA. 27 C.F.R. §§ 478, 479; e.g., U.S. ATF, Open Letter
16 inches in length” or “a weapon made from a rifle if such            on the Redesign of “Stabilizing Braces” (Jan. 6, 2015)
a weapon as modified has an overall length of less than 26


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(explaining that use of a stabilizing brace as “as a shoulder
stock” modifies a pistol or handgun into “a NFA firearm”).          (3) Whether the weapon is equipped with sights or a scope
                                                                    with eye relief that require the weapon to be fired from the
 *2 In the last decade, there has been a proliferation of           shoulder in order to be used as designed;
weapons equipped with various brace devices. Dkt. 22 at 4.
                                                                    (4) Whether the surface area that allows the weapon to
Particularly, in 2012, the ATF received requests to classify
                                                                    be fired from the shoulder is created by a buffer tube,
a type of brace known as a stabilizing brace, which was
                                                                    receiver extension, or any other accessory, component, or
originally designed “to assist people with disabilities or
                                                                    other rearward attachment that is necessary for the cycle of
limited strength or mobility” in firing heavy pistols single-
                                                                    operations;
handedly. Id. at 5. However, as new types of stabilizing
braces entered the market, the designs began to “include            (5) The manufacturer's direct and indirect marketing and
characteristics common to shoulder stocks.” Id. at 6. ATF           promotional materials indicating the intended use of the
soon learned that these braces were being marketed by               weapon; and
manufacturers as a means of creating short-barreled rifles that
were purportedly “ATF compliant,” even though the device            (6) Information demonstrating the likely use of the weapon
had never been submitted for classification. Id. Ultimately,        in the general community.
ATF became aware that manufacturers were using stabilizing
                                                                  88 Fed. Reg. 6,480. The NPRM also included a proposed table
braces as a means to skirt the requirements of the NFA. Id.
                                                                  that created a weighted point system; but the Final Rule did
                                                                  not implement the point system. Id. at 6,479-80. The Final
In response, ATF initiated a proposed rulemaking (“NPRM”)
                                                                  Rule took immediate effect, but gave individuals already
in June 2021, which proposed amendments to          27 C.F.R.     possessing firearms subject to the rule until May 31, 2023 to
§§ 478.11 and       479.11 regarding the definition of the term   come into compliance with the NFA. Id. at 6,570. Ultimately,
“rifle.” Dkt. 22 at 8. ATF received over 230,000 public           the Final Rule makes it such that certain pistols equipped with
comments and published its final rule on January 31, 2023.        stabilizing braces are now subject to heightened regulation
Factoring Criteria for Firearms with Attached “Stabilizing        under the NFA and the GCA.
Braces,” 88 Fed. Reg. 6,478 (Jan. 31, 2023) (the “Final
Rule”). As a result, the Final Rule amended the statutory
definition of rifle to include “any weapon that is equipped                  B. Factual and Procedural Background
with an accessory, component, or other rearward attachment,”
such as a stabilizing brace, “that provides surface area          Plaintiff Robert Miller, a gun owner and firearms seller,
allowing the weapon to be fired from the shoulder, provided       is a citizen of Virginia who has sued Defendant Attorney
that other factors indicate that the weapon is designed, made,    General Merrick Garland, ATF, and the director of ATF,
and intended to be fired from the shoulder.” 88 Fed. Reg. at      Steven Dettelbach. Plaintiff filed this lawsuit on February
6,497 (interpreting the definition of “rifle,” under both the     13, 2023 alleging that the regulation is unconstitutional and
NFA and GCA). ATF lists six other factors relevant to the         otherwise violates the Administrative Procedure Act (APA).
determination:                                                    Dkt. 1. On March 17, 2023, Plaintiff filed an Application for
                                                                  a Nationwide Temporary Restraining Order, Dkt. 16, and an
  1) Whether the weapon has a weight or length consistent         Application for a Preliminary and Permanent Injunction, Dkt.
  with the weight or length of similarly designed rifles;         17. On April 3, 2023, Defendants filed their Opposition, Dkt.
                                                                  22, and on April 10, 2023, Plaintiff filed his Reply. Dkt. 26.
  (2) Whether the weapon has a length of pull, measured from
                                                                  On April 12, this Court held oral argument. On May 2, 2023,
  the center of the trigger to the center of the shoulder stock
                                                                  Plaintiff filed a Notice of Supplemental Authority, Dkt. 28,
  or other rearward accessory, component or attachment
                                                                  and on May 4, 2023, Defendants filed their Response to the
  (including an adjustable or telescoping attachment with the
                                                                  Notice, Dkt. 29.
  ability to lock into various positions along a buffer tube,
  receiver extension, or other attachment method), that is
  consistent with similarly designed rifles;
                                                                                 II. STANDARD OF REVIEW




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 *3 “A preliminary injunction [or TRO] 1 is ‘an
extraordinary remedy that may only be awarded upon a clear                 1. Plaintiff's Administrative Law Challenges
showing that the plaintiff is entitled to relief’ and may never
be awarded ‘as of right.’ ” Mountain Valley Pipeline, LLC v.
W. Pocahontas Prop. LP., 918 F.3d 353, 366 (4th Cir. 2019)                  a. ATF's Statutory Jurisdiction or Authority

(quoting Winter, 555 U.S. at 22, 24 (2008)). And “granting         This Court finds that Plaintiff is not likely to succeed on the
a preliminary injunction requires that a district court, acting    merits of his APA claim. Plaintiff contends that the Final
on an incomplete record, order a party to act, or refrain          Rule violated the APA because ATF exceeded its statutory
                                                                   authority in promulgating the Final Rule because the rule's
from acting, in a certain way.”        Hughes Network Sys. v.
                                                                   interpretation essentially “rewrites” the definition of “rifle”
InterDigital Commc'ns Corp., 17 F.3d 691, 693 (4th Cir.
                                                                   in the NFA and CGA. Dkt. 1 ¶ 24. Defendants argue in
1994). Courts do not lightly award this extraordinary relief,
                                                                   response that the ATF has the clear authority to “interpret
and preliminary injunctions are therefore “to be granted only
                                                                   provisions within the NFA and GCA, including terms used
sparingly.” Toolchex, Inc. v. Trainor, 634 F. Supp. 2d 586, 593
                                                                   within the statutory definition of ‘rifle,’ ” because Congress
(E.D. Va. 2008) (quoting      In re Microsoft Corp. Antitrust      delegated authority to “enforce and administer the statute to
Litig., 333 F.3d 517, 524 (4th Cir. 2003)).                        the Attorney General who then delegated said authority to
                                                                   the ATF.” Dkt. 22 at 13. Plaintiff responds that the Final
In order to be eligible for such relief, a plaintiff “must         Rule conflicts with the statutory definition of “rifle” because
establish that: (1) [he] is likely to succeed on the merits;       pistols equipped with a stabilizing brace are designed to
(2) [he] is likely to suffer irreparable harm without the          be fired with one-hand and the “mere possibility that a
preliminary injunction [or TRO]; (3) the balance of the            shooter can place a braced pistol against his shoulder does not
equities tips in [his] favor; and (4) the injunction [or TRO] is   constitute the making of a[ ] [short-barreled rifle].” Dkt. Nos.
in the public interest.” Winter, 555 U.S. at 20. “The failure      16 at 38-40; 26 at 7.
to show any one of the relevant factors mandates denial of
the preliminary injunction [or TRO].” Parson v. Alcorn, 157        As an initial matter, the APA requires reviewing courts
F.Supp.3d 479, 491 (E.D. Va. 2016) (citation omitted).             to “hold unlawful and set aside agency action, findings,
                                                                   and conclusions found to be ... in excess of statutory
                                                                   jurisdiction, authority, or limitations, or short of statutory

                       III. ANALYSIS                               right.” 5 U.S.C. § 706(2)(C). When agencies are given the
                                                                   authority to administer and enforce a statute, they often must
                                                                   interpret relevant provisions to ensure efficient and accurate
           A. Likelihood of Success on the Merits
                                                                   implementation.        Gonzales v. Oregon, 546 U.S. 243, 255
Plaintiff attacks the Final Rule on several grounds: (1) that      (2006). It is not for the reviewing court to substitute its view
the Final Rule exceeds ATF's authority; (2) that the Final         for that of the administrative agency. However, an agency is
Rule violates various Administrative Procedure Act (“APA”)         constrained by the language of the statute it must administer
procedural requirements, (3) that the Final Rule implicates        and may not rewrite or redefine terms in a way that contradicts
Major Questions Doctrine; (4) that the Final Rule imposes ex       the original statute.   Texas v. United States, 497 F.3d 491,
post facto criminal liability; (5) that the Final Rule violates
the Fifth Amendment as it is void for vagueness; and (6)           500-01 (5th Cir. 2007) (citing     Massachusetts v. EPA, 549
that the NFA and Final Rule infringe upon Plaintiff's Second       U.S. 497 (2007).
Amendment rights. The Court will first address whether any
of Plaintiff's claims are likely to succeed on the merits,          *4 As courts have consistently recognized, ATF has the
beginning with the alleged APA violations before turning to        authority to interpret the NFA and GCA where there is
the constitutional questions.                                      ambiguity, 2 meaning that it is not likely that Plaintiff
                                                                   will succeed on this claim. Mock v. Garland, No. 4:23-
                                                                   CV-00095-O, 2023 WL 2711630, at *4 (N.D. Tex. Mar.
                                                                   30, 2023) 3 (citing Guedes v. Bureau of Alcohol, Tobacco,



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Firearms, and Explosives, 356 F. Supp. 3d 109, 129 (D.D.C.          federal concern,” the proliferation of stabilizing braces, and
2019)) (upholding ATF's interpretation that a bump stock
                                                                    conducted the proper analysis in compliance with             EO
is a machinegun as defined under the NFA). Further, as
                                                                    12,866 and Circular A-4. Id. at 23.
discussed above, the statutory definition of “rifle” in the
GCA and NFA uses terms such as “designed” “redesigned,”
                                                                    Indeed, while Defendants' regulatory analysis may have room
“remade,” and “intended[,]” and Congress did not shed any
                                                                    for improvement, the law does not require perfection. The
additional light on the definition of rifle.        26 U.S.C. §     Court agrees with the Defendants that since “[c]ompliance
5845(c). As the court held in Mock, in order to apply the           with [OMB] Circular A-4 is not required by any statute or
statutory definition, it is “necessarily require[d]” to “evaluate   regulation,” including the APA, compliance with the circular
objective weapon characteristics, and perhaps conduct to            is not subject to judicial review. Louisiana v. Biden, No.
decide whether a particular firearm is subject to the NFA.”         22-30087, 2022 WL 866282, at *1 (5th Cir. Mar. 16, 2022);
   Mock, 2023 WL 2711630 at *8. Thus, a rule that clarifies         see    U.S. Dep't of Health & Hum. Servs. v. Fed. Lab. Rels.
when an accessory, such as a stabilizing brace, remakes or          Auth., 844 F.2d 1087, 1095 (4th Cir. 1988) (OMB circular
redesigns a firearm to make it into a short-barreled rifle does     “confers no grievable, arbitrable, or justiciable rights on third
not exceed ATF's statutory authority. The Final Rule does
                                                                    parties”). Similarly,   EO 12,866 provides no private right
not “rewrite” the definition of rifle as Plaintiff contends, but
                                                                    of action, meaning that non-compliance with the order is
rather provides guidance for enforcers to determine when
                                                                    also not subject to judicial review. E.g., Nat'l Mining Ass'n
a particular weapon with a stabilizing brace falls under
                                                                    v. United Steel Workers, 985 F.3d 1309, 1327 (11th Cir.
the purview of the NFA. This Court is not convinced that
the agency's interpretation contradicts the original meaning        2021) (holding that      EO 12,866 does “not permit judicial
of “rifle” such that a preliminary injunction is necessary.         review of inconsistent agency action”). Even still, as this
Therefore, Plaintiff has not met his burden on this APA claim.      Court discussed above, the definition of “rifle” necessarily
                                                                    requires an explanation to determine what firearms constitute
                                                                    rifles, thus the need to clarify the classification of weapons
                                                                    equipped with stabilizing braces is sufficient to support the
                b. ATF's Regulatory Analysis
                                                                    ATF's rulemaking.


 i. Compliance with       EO 12,866 and OMB Circular A-4
                                                                                       ii. Cost-Benefit Analysis
Plaintiff raises a series of arguments challenging ATF's
regulatory analysis. First, Plaintiff argues that ATF failed         *5 Plaintiff also argues that ATF's analysis was deficient
to prove the Final Rule was necessary or appropriate as             because the agency failed to quantify or monetize the Final
required by the APA. Dkt. 16 at 10. In support, Plaintiff cites     Rule's benefits and underestimated its costs. Dkt. 16 at 2.
                                                                    Plaintiff contends that Defendants should have presented
    Executive Order 12,866 (“EO 12,866”) and OMB Circular
                                                                    more data or statistics and attempted to estimate the value
A-4, which states that every rule must identify a “significant”
                                                                    of a statistical life to quantify the benefits of the rule
or “compelling” problem that requires federal regulation, to
                                                                    accurately. Id. at 14-15. In response, Defendants first argue
bolster his claim that the agency did not engage in “good”
                                                                    that where Congress has determined short-barreled rifles
regulatory analysis. Id. Plaintiff argues that Defendants relied
                                                                    pose a particular danger to the public and ATF has been
on the two recent mass shootings in Colorado and Ohio, where
                                                                    delegated the authority of enforcing the NFA, the requirement
pistol braces were used, to establish a need for rulemaking,
                                                                    of empirical data to enforce the statute would render the
which is insufficient to promulgate a rule regulating millions
of pistols. Id. at 11. Defendants argue Plaintiff's claim must      statute itself a “nullity.” Dkt. 22 at 24 (citing FCC v.
fail because the “APA provides no private right of action           Fox Television Stations, Inc., 556 U.S. 502, 519 (2009)).
                                                                    Defendants next argue the Final Rule appropriately weighs
to challenge the Rule's compliance with     EO 12,866” and
                                                                    the benefits to public safety because the Final Rule acts
circulars such as OMB Circular A-4 are merely guidance.
                                                                    in line with Congress's decisions “by reducing the further
Dkt. 22 at 22-23. Additionally, Defendants argue that even
                                                                    proliferation and criminal use of firearms with attached
still, the Final Rule “identified a significant problem of
                                                                    ‘stabilizing braces.’ ” 88 Fed. Reg. at 6,481. Defendants



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contend that since public safety is difficult to quantify, “it       at least as many ‘brace’ devices or firearms with an attached
is sufficient for the agency to ‘exercise [its] professional         ‘brace’ device as there are pistols that were manufactured in
judgment’ to determine the importance of ‘non-quantified             the U.S. between 2013 to 2020 (i.e., 32.4 million pistols),”
benefits ... in the context of the overall analysis.’ ” Dkt. 22 at   and applying the lower end of the range “would mean nearly
18 (citing OMB, Circular A-4 at 2).                                  a third of pistols manufactured between 2013 to 2020 [were]
                                                                     equipped with a ‘stabilizing brace,’ even though braces are
Plaintiff next argues that ATF's analysis is deficient because       only used on a subset of pistols, and not all pistols are types
the agency failed to rely on the Congressional Research              for which a person would attach a brace.” RIA at 19-20.
Service's (“CRS”) report. Dkt. 16 at 16. Defendants argue
in response that the agency was aware of the CRS report's             *6 The Court is not swayed by Plaintiff's claim that the Final
estimate but explained why it chose not to use CRS's estimate        Rule is deficient because it relied on different justifications
from an “unsourced, second-hand” and “not detailed” report           than the NPRM. As the court in Mock found, interpretive rules
over its own in the Final Regulatory Impact Analysis. Dkt. 22        such as the one at issue are not subject to APA's requirements
at 24.                                                               such as the logical outgrowth test, 5 which seems to be the

Finally, Plaintiff argues the analysis was deficient because the     crux of Plaintiff's claim.    Mock, 2023 WL 2711630 at *5.
proposed rule cited negative externalities, but the Final Rule       Thus, interpretive rules are not required to use the same
did not. Dkt. 16 at 15. Defendants contend that final rules are      justifications for proposed rules and final rules. Id. Even
not required to “rely on the same justifications as the proposed     assuming the rule is legislative, the Final Rule likely survives
rule.” Dkt. 22 at 25. In response, Plaintiff argues that by          this procedural challenge because the negative externality
removing negative externalities from the analysis, Defendants        justification was removed in response to public comment, 88
“gut[ted]” their analysis of the net benefits of the Final Rule.     Fed. Reg. at 6,559, and the Final Rule provided an otherwise
Dkt. 26 at 14-15.                                                    adequate though not perfect cost-benefit analysis. The Court
                                                                     finds ATF's cost benefit analysis to be reasonable and Plaintiff
Plaintiff's arguments that attention should be paid to cost, and     is unlikely to succeed on the merits of this claim.
that ATF should have tried to quantify the monetary benefits
to public safety before using qualitative methods are well-
taken, but any errors by ATF were at worst, harmless. The                    iii. Consideration of Regulatory Alternatives
Court recognizes that benefits to public safety are difficult
to quantify, and the “the law does not require agencies to           Plaintiff also avers that ATF's analysis was deficient because
                                                                     the agency failed to consider regulatory alternatives. Plaintiff
measure the immeasurable.”         Inv. Co. Inst. v. CFTC, 720
                                                                     specifically argues Defendants should have considered the
F.3d 370, 379 (D.C. Cir. 2013); see also        Fox Television       “no change” alternative, as the agency has not explained
Stations, Inc., 556 U.S. at 519 (declining to “insist” agencies      why the regulation would be better than the status quo and
                                                                     that Defendants should not have rejected comments regarding
“obtain[ ] the unobtainable”);       Inv. Co. Inst., 720 F.3d at
                                                                     adding a “grandfather clause.” Dkt. 16 at 18. Defendants
379 (“Where Congress has required ‘rigorous, quantitative
                                                                     contend that they considered the “no change” alternative
economic analysis,’ it has made that requirement clear in
                                                                     within the NPRM, but decided not to adopt it because it would
the agency's statute.” Further, ATF's analysis of cost seems
                                                                     not address the agency's underlying concerns. Dkt. 22 at 26.
reasonable at this stage of the proceedings. The Agency issued
a Final Regulatory Impact Analysis that included a 40-page
                                                                     As other courts have noted, this Court cannot fault an agency
discussion of costs. ATF, Final Regulatory Impact Analysis
                                                                     for its decision not to adopt an alternative that the agency
and Final Regulatory Flexibility Analysis (Jan. 2023), at
                                                                     deems not viable or does not address the problem it has set
28-67 https://perma.cc/96PV-KRB9 (“RIA”). ATF calculated
                                                                     out to solve. TikTok Inc. v Trump, 507 F. Supp. 3d 92, 112
the anticipated cost of the Final Rule by doubling its initial
                                                                     (D.D.C. 2020); see Am. Inst. of Certified Pub. Accts. v. IRS,
estimate of pistols outfitted with stabilizing braces, which
                                                                     746 F. App'x 1, 13 (D.C. Cir. 2018) (“We cannot fault the
was based partly on evidence from brace manufacturers, to
                                                                     [agency] for failing to consider an alternative that was not
account for any incorrectly low numbers. 4 RIA at 18-22. ATF         addressed to the problem with which it was concerned.”).
also explained it declined to rely on the CRS estimate because       ATF states that its goal is to alleviate any confusion regarding
“[u]sing the upper end of the range would mean there [were]


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the proper classification of “brace”-equipped weapons and to      Register.” Dkt. 22 at 42 (citing 88 Fed. Reg. at 6,481 (citing
decrease the widespread circumvention of NFA controls that
                                                                     5 U.S.C. § 801(a)(3))). Also, Defendants claim that since
had been achieved through the proliferation of unregistered
                                                                  the rule is interpretive, it is exempt from the APA's 30-day
short-barreled rifles equipped with “brace” devices. 88 Fed.
                                                                  requirement. Dkt. 22 at 42.
Reg. at 6,556. As the “no change” approach likely would not
“resolve [those] concerns,” Defendants did not err when they
                                                                  The Court agrees with Defendants that the Final Rule's
failed to consider that approach. TikTok Inc., 507 F. Supp.
                                                                  effective date is lawful. Though the CRA states a “major
3d at 112; Am. Inst. of Certified Pub. Accts., 746 F. App'x
                                                                  rule cannot ‘take effect’ until the later of” 60 days after
at 13. Plaintiff's argument that ATF should have considered
                                                                  presentment to Congress or it is published on the Federal
a grandfather clause, or a clause that would excuse current
                                                                  Register[,]” courts have held that provision “does not
possessors from compliance requirements going forward,
                                                                  change the date on which the regulation becomes effective.”
similarly fails. ATF considered the grandfather clause option,
and reasonably responded that “a prospective, indefinite             Liesegang v. Sec'y of Veterans Affs., 312 F.3d 1368, 1375
exercise of its enforcement discretion (as embodied in a          (Fed. Cir. 2002), amended in part on reh'g, 65 F. App'x
grandfathering provision for current possessors)” would           717 (Fed. Cir. 2003); accord       Nat. Res. Def. Council v.
allow possessors to continue to circumvent NFA regulations.       Abraham, 355 F.3d 179, 202 (2d Cir. 2004). The CRA simply
88 Fed. Reg. at 6,568. While Plaintiff may disagree with the      creates a “60-day waiting period” for enforcement of a major
agency's determination, ATF “need only enable [a reviewing
court] to see what major issues of policy were ventilated and     rule. Liesegang, 312 F.3d at 1375. Since ATF implemented
                                                                  a 60-day period for the enforcement of the Final Rule, though
why the agency reacted to them as it did.”        Pub. Citizen,   it was immediately effective, it does not run afoul of CRA
Inc. v. FAA, 988 F.2d 186, 197 (D.C. Cir. 1993) (cleaned up).     requirements.
Since the record reveals that ATF explained and evaluated the
merits of the grandfather clause, finding it would not further    Additionally, final rules that are “interpretive” are not subject
the goal of the Final Rule, ATF did not need to consider that     to the same requirements as legislative rules. For example,
alternative. TikTok Inc., 507 F. Supp. 3d at 112.
                                                                  interpretive rules may take immediate effect.       5 U.S.C. §
 *7 Finally, Plaintiff's contention that ATF should have let      553(d). An interpretive rule is a rule “issued by an agency to
Congress or state governments amend the NFA and the GCA           advise the public of the agency's construction of the statutes
fails, as the NFA and GCA are already written to regulate         and rules which it administers.”    Perez v. Mortg. Bankers
short-barreled rifles, and the ATF has already been tasked        Ass'n, 575 U.S. 92, 97 (2015). Further, interpretive rules “do
with the responsibility of enforcing the statute.   26 U.S.C.     not have the force and effect of law.” Id. (citing     Shalala v.
§ 5845(a)(3);    18 U.S.C. § 921(a)(8).                           Guernsey Memorial Hospital, 514 U.S. 87, 99 (1995)). As the
                                                                  Court holds above, the Final Rule is merely interpretative as
                                                                  it provides the public with guidance as to ATF's interpretation
                                                                  of definitions in the NFA and the GCA. The Court also finds
                 c. The Rule's Effective Date                     Plaintiff's argument that the Final Rule is legislative to be
                                                                  unpersuasive as the Final Rule does not impose any new legal
Plaintiff argues the Final Rule's effective date is unlawful
                                                                  obligations and merely attempts to clarify when a weapon is
because the Congressional Review Act (“CRA”) requires that
                                                                  a short-barreled rifle. 88 Fed. Reg. at 6,478; 6,569 (“The final
a “major rule” such as the Final Rule not take effect for
                                                                  regulatory text for the definition of ‘rifle’ reflects the best
60 days after it is submitted to Congress or published in
                                                                  interpretation of the relevant statutory provisions.”). Thus, the
the Federal Register. Dkt. 16 at 19-21. Plaintiff opines that
                                                                  Final Rule's immediate effective date is not unlawful.
because the Final Rule is legislative, it cannot take effect
until 30 days after publication. Id. Defendants respond that
the Final Rule does not run afoul of the CRA and Plaintiff
misapprehends the CRA requirements because though the                              d. Arbitrary and Capricious
Final Rule is effective immediately, it provided that the
agency would “wait to initiate such enforcement actions for        *8 Plaintiff next argues that the Final Rule is arbitrary and
at least 60 days from publication of the rule in the Federal      capricious for various reasons. First, Plaintiff argues the Final



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Rule is arbitrary and capricious because it relies on “factors      precision, courts have upheld agencies' use of multifactor
Congress did not intend for [ATF] to consider” and that the
                                                                    tests even where there are none.   Texas v. EPA, 983 F.3d
NFA and GCA also don't rely on those factors. Dkt. 16 at
                                                                    at 839-40 (5th Cir. 2020). All that is required is that the
23. Plaintiff also contends the Final Rule is arbitrary and
capricious because the individual factors are not objective,        agency “define and explain the criteria applied.”       Catawba
and their application is not explained adequately. Id. at 22.       Cnty., N.C. v. EPA, 571 F.3d 20, 39 (D.C. Cir. 2009). Despite
For example, Plaintiff points to the fact that the agency did       Plaintiff's contention, the Final Rule does just that. For
not list specific measurements for the required surface area        example, the Final Rule explains that for a firearm “marketed
of the firearm and that the agency did not set “upper or            as a pistol that is a variant of a firearm,” ATF will compare the
lower limits on the weight of the firearm,” and thus those          weight and length to those “of variants designed, made, and
factors are not tethered to any specific requirements. Id.          intended to be fired from the shoulder.” 88 Fed. Reg. at 6,518.
Plaintiff also takes issue with the agency's inclusion of firearm   Further, consistent with the definition under the NFA and
marketing materials to classify firearms and uses his own           GCA, the inquiry is whether a firearm is designed or intended
guns as examples of why the Final Rule is arbitrary. Id. at         to be fired from the shoulder, not whether it can be fired
24-25. Plaintiff references his own Q Honey Badger pistol,          with one arm. Id. at 6,501. While Plaintiff and other litigants
stating that the firearm's objective features, such as its rear     have argued that the definition of a rifle should be limited
surface area, its length, and weight make it close to being         to devices that are designed to be exclusively fired from
considered a short-barreled rifle under the Final Rule, even        the shoulder, many courts have rejected this interpretation of
though he could operate his firearm “using only one hand and        the statute. United States v. Rose, 695 F.2d 1356, 1357-58
the stabilizing brace.” Id. at 24-26. Defendants respond by         (10th Cir. 1982); United States v. Schuhmann, 963 F.2d 381
noting that the NFA requires the regulation of certain firearms     (9th Cir. 1992);    Sipes v. United States, 321 F.2d 174, 178
designed to be fired from the shoulder, and the criteria used       (8th Cir. 1963) (explaining the fact that a weapon “could
in the Final Rule are used to serve that statutory inquiry.         be fired elsewhere than from the shoulder makes it no less
Dkt. 22 at 30. Defendants further point to assessing certain        a rifle within the statutory definition”), overruled on other
factors such as surface area to be fired from the shoulder
is a fact specific inquiry which is why there are no specific       grounds by      Haynes v. U.S., 390 U.S. 85 (1968). In using
measurements listed. Id. at 29. Lastly, Defendants retort that      the six individual factors 6 listed in the Final Rule, though
marketing materials are in line with what courts generally          not explicitly relied on by the NFA or GCA or dispositive,
consider when evaluating the intended use of an item and            this Court finds the ATF has acted within the “zone of
that Plaintiff's reference to his own devices “misapprehends        reasonableness.”      Prometheus Radio Project, 141 S. Ct. at
the relevant inquiry” which turns on whether the device is          1158. Accordingly, Plaintiff has not met his burden that the
intended to be fired from the shoulder not whether it could be      regulation is arbitrary and capricious.
operated in other ways. Id. at 45.

“The APA's arbitrary-and-capricious standard requires that
an agency action be reasonable and reasonably explained.”                            2. Major Questions Doctrine

   FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158            *9 Plaintiff next argues that the Final Rule's impact on
(2021). In evaluating an arbitrary-and-capricious challenge,        society is so great that Congress could not have intended for
“[a] court simply ensures that the agency has acted within          ATF to have that much authority and relies on the Major
a zone of reasonableness and, in particular, has reasonably         Questions Doctrine to invalidate the rule. Dkt. 16 at 35-36.
considered the relevant issues and reasonably explained the         Defendants respond that the doctrine does not apply because
decision.” Ren v. United States Citizenship & Immigr. Servs.,       interpreting the NFA and GCA with regard to firearms is
60 F.4th 89, 93 (4th Cir. 2023) (citing     Prometheus Radio        exactly the type of action the agency was tasked with. Dkt. 22
Project, 141 S. Ct. at 1158). Agencies often implement multi-       at 32. The Major Questions Doctrine applies to extraordinary
factor balancing tests. PDK Lab'ys Inc. v. DEA, 438 F.3d 1184,      cases where there are “novel” interpretations of “ancillary
1194 (D.C. Cir. 2006) (“Agencies routinely employ multi-            statutes.”  West Virginia v. EPA, 142 S. Ct. 2587, 2605,
factor standards when discharging their statutory duties[.])”       2609 (2022). Before applying “major questions” principles,
While numeric thresholds may be helpful or increase                 the Supreme Court has considered the following: (1) whether



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the challenged action is outside the agency's traditional field
of expertise, (2) whether it intrudes on matters typically
governed by state law, and (3) whether Congress has already
                                                                               b. Fifth Amendment and Rule of Lenity
expressly considered and rejected the measure.         FDA v.
Brown & Williamson Tobacco Corp., 529 U.S. 120, 159-60              Plaintiff argues that the Final Rule violates the Fifth
(2000). None of those factors are present here. The Final           Amendment because it is unconstitutionally vague and that
Rule simply attempts to clarify any confusion regarding             the rule of lenity requires the Court “rule favorably for
“stabilizing braces” and ATF firearm classifications, which         the party allegedly violating the law.” Dkt. 16 at 36-39.
does not qualify as an expansion of the agency's regulatory         Plaintiff criticizes the criteria ATF uses to determine whether
authority such that a preliminary injunction is warranted. Util.    a weapon is a “rifle,” because, in his view, the Final Rule
                                                                    relies on various subjective factors such as manufacturer
Air Regul. Grp. v.     EPA, 573 U.S. 302, 324 (2014).               marketing materials and the likely use of the weapon in
                                                                    the general community. Id. Plaintiff asserts that this reliance
                                                                    on subjective factors, makes it difficult for him and other
           2. Plaintiff's Constitutional Challenges                 regulated parties to discern how the factors operate in
                                                                    conjunction with one another; and thus the rule is void for
                                                                    vagueness. Id. at 39. Defendants respond that the rule is not
                  a. Ex-Post Facto Liability
                                                                    unconstitutionally vague because the criteria are primarily
Plaintiff asserts that the Final Rule subjected him to “ex post     objective and that the agency is not required to provide the
facto criminal liability.” Dkt. 16 at 41. Defendants argue          “granular” specificity that Plaintiff demands. Dkt. 22 at 35.
this is not so. Dkt. 22 at 47. In support, Defendants argue         A law is unconstitutionally vague if it does not “give [a]
that the Final Rule itself does not criminalize any conduct         person of ordinary intelligence a reasonable opportunity to
because it is interpretive, and that all liability stems from       know what is prohibited.”        Grayned v. City of Rockford,
the NFA. Id. Defendants also cite to the specific language          408 U.S. 104, 108 (1972); United States v. Brewer, 533 F.
of the regulation, which states: “[ATF] has determined that         App'x 234, 238 (4th Cir. 2013). “To sustain such a challenge,
any criminal liability for failure to take the necessary action     the complainant must prove that the enactment is vague ‘not
to comply with Federal law for weapons that have already            in the sense that it requires a person to conform his conduct
been made will result only for conduct occurring after the time     to an imprecise but comprehensible normative standard, but
period to register ends.” Dkt. 22 at 33 (citing 88 Fed. Reg. at     rather in the sense that no standard of conduct is specified
6,554).
                                                                    at all.’ ”  Vill. of Hoffman Ests. v. Flipside, Hoffman Ests.,
                                                                    Inc., 455 U.S. 489, 495 n.7 (1982) (internal citations omitted).
“To fall within the ex post facto prohibition, a law must
                                                                    Therefore, courts have frequently struck down statutes that
be retrospective—that is, it must apply to events occurring
                                                                    “tied criminal culpability to ... wholly subjective judgments.”
before its enactment—and it must disadvantage the offender
affected by it by altering the definition of criminal conduct or       United States v. Williams, 553 U.S. 285, 306 (2008). While
                                                                    Plaintiff's argument that ATF could have used clearer and
increasing the punishment for the crime.” Lynce v. Mathis,
                                                                    more precise language has some merit, the law does not
519 U.S. 433, 441 (1997). Courts have frequently held that
continued or future possession of a firearm does not run            require “perfect clarity and precise guidance.”        Ward v.
                                                                    Rock Against Racism, 491 U.S. 781, 794 (1989). The six
afoul with the ex post facto prohibition.       United States v.
                                                                    factors considered by ATF provide a cognizable standard by
Mitchell, 209 F.3d 319, 323 (4th Cir. 2000); Benedetto v.
                                                                    which a person can conform their conduct that aligns with the
Sessions, No. CV CCB-17-0058, 2017 WL 4310089, at *4
                                                                    statutory definition regarding whether a weapon is “designed,
(D. Md. Sept. 27, 2017). Even if the Court considered the
                                                                    redesigned, made or remade and intended to be fire from the
Final Rule to be legislative, it regulates continued possession
                                                                    shoulder,” which is sufficient to survive a void for vagueness
of short-barreled rifles, which similar to Mitchell does not
                                                                    challenge. See      Mock, 2023 WL 2711630, at *7 (holding
offend the ex post facto clause.       Mitchell, 209 F.3d at 323.
                                                                    Plaintiffs did not meet their burden to show ATF's pistol brace
Therefore, Plaintiff is not likely to be successful on the merits
                                                                    rule was void for vagueness because it was comprehensible
of his ex post facto claim.
                                                                    enough to put a person on notice that their weapon may be



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subject to federal laws). Thus, Plaintiff has failed to meet his    “anything that a man wears for his defence, or takes into his
burden on his void for vagueness claim.
                                                                    hands, or useth in wrath to cast at or strike another.” Heller
                                                                    554 U.S. at 581. If a stabilizing brace is not encompassed
 *10 Based on the Court's assessment that the final rule
                                                                    by “Arms,” it thus falls outside the protection of the Second
is interpretive, and not legislative, Plaintiff's argument
                                                                    Amendment. Where a rule does implicate a bearable arm, and
regarding the rule of lenity is similarly unavailing. See
                                                                    thus the Second Amendment, the government must show that
   Mock, 2023 WL 2711630, at *6 (holding Plaintiffs did             the rule “is consistent with the Nation's historical tradition
not satisfy their burden to show likelihood of success on the
                                                                    of firearm regulation,”   N.Y. State Rifle & Pistol Ass'n v.
merits with regard to lenity where the ATF's pistol brace rule
                                                                    Bruen, 142 S. Ct. 2111, 2130 (2002), by showing there is
merely interprets the NFA and GCA). Therefore, similar to the
                                                                    a “well-established and representative historical analogue.”
Plaintiffs in Mock, Plaintiff has not shown he is substantially
likely to succeed on either his void for vagueness or rule of          Id. at 2133.
lenity claims.
                                                                    Plaintiff has not met his burden of showing that the Final Rule
                                                                    implicates the Second Amendment. First, laws that regulate
                                                                    the use of firearm accessories or attachments do not generally
                    c. Second Amendment
                                                                    implicate the Second Amendment. United States v. Cox, 906
                                                                    F.3d 1170, 1186 (10th Cir. 2018) (holding a silencer is not a
                       i. The Final Rule                            weapon on its own but rather a firearm accessory and thus
                                                                    is not a bearable arm protected by the Second Amendment);
Plaintiff brings a facial challenge to the constitutionality        United States v. Saleem, No. 3:21-cr-00086-FDW-DSC, 2023
of the Final Rule and the NFA in light of the Supreme               WL 2334417, at *11 n. 9 (W.D.N.C. Mar. 2, 2023). In the
Court's decision in      N.Y. State Rifle & Pistol Ass'n, Inc. v.   context of silencers, courts have routinely held that a silencer
Bruen, 142 S. Ct. 2111 (2022). Plaintiff argues that the Final      is not a firearm because a silencer cannot cause harm on
Rule violated the Second Amendment because it “regulate[s]          its own, it is “not useful independent of its attachment to a
bearable arms that have been in common use for lawful               firearm,” and “a firearm remains an effective weapon without
purposes long before the ratification of that amendment, and        a silencer.” United States v. Hasson, No. GJH-19-96, 2019
Defendants can show no historical analogues of regulating           WL 4573424, at *4-5 (D. Md. Sept. 20, 2019) (collecting
these guns prior to the NFA and GCA.” Dkt. 16 at 3. Plaintiff       cases). Like a silencer, a stabilizing brace cannot cause harm
also argues that for the Second Amendment to have meaning,          on its own, is not useful independent of its attachment to a
it must extend to firearm accessories such as the stabilizing       firearm, and a firearm remains an effective weapon without
braces. Dkt. 26 at 16-17. Defendants argue in response that         a brace. 7
the Final Rule does not implicate the Second Amendment
because a stabilizing brace is not a bearable arm, the Final         *11 Assuming arguendo that the Final Rule does implicate
Rule does not ban any firearms, and short-barreled rifles are       the Second Amendment, Plaintiff's argument fails because
dangerous and unusual weapons not subject to protection.            as the court noted in Mock, “the Final Rule does not ban
Dkt. 22 at 48-49.                                                   stabilizing braces, nor firearms equipped with them” but
                                                                    rather “requires individuals and entities to comply with
A rule implicates the Second Amendment when the                     the NFA's statutory requirements (e.g., by registering the
instrument at issue “constitute[s] [a] bearable arm.”               weapons with ATF or permanently detaching the brace
   District of Columbia v. Heller, 554 U.S. 570, 582 (2008);        from the pistol).”     Mock, 2023 WL 2711630 at *14.
Hollis v. Lynch, 827 F.3d 436, 447 (5th Cir. 2016). The             The Second Amendment does not prohibit the imposition
instrument “need not have existed at the time of the founding       of reasonable licensing regimes commonly associated with
to fall within the amendment's ambit, but it must fit the
                                                                    firearm ownership.      Bruen, 142 S. Ct. at 2162 (Kavanaugh,
founding-era definition of an ‘Arm.’ ” United States v. Cox,
                                                                    J., concurring);     Bezet v. United States, 714 F. App'x 336,
906 F.3d 1170, 1186 (10th Cir. 2018) (cleaned up); Bruen,
142 S. Ct. at 2132. Courts have held that “arm” typically           340 (5th Cir. 2017); see also    Bruen, 142 S. Ct. at 2138
covers “[w]eapons of offence or armour of defence,” or              n.9 (2022) (“[N]othing in our analysis should be interpreted



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to suggest the unconstitutionality [of reasonable licensing       short barreled shotguns. United States v. Gilbert, 286 Fed.
regimes][.]”). Requirements such as those at issue here,          App'x. 383, 386 (9th Cir. 2008); United States v. Cox, 235
fingerprinting and background checks, do not offend the right     F. Supp. 3d 1221, 1227 (D. Kan. 2017); United States v.
                                                                  Gonzales, No. 2:10-cr-00967, 2011 WL 5288727, at *6 (D.
to bear arms.      Bezet, 714 F. App'x at 340; accord     Lane
                                                                  Utah Nov. 2, 2011). Since Bruen, lower courts have held
v. Holder, 703 F.3d 668, 672-73 (4th Cir. 2012) (finding
                                                                  that short-barreled rifles are not protected under the Second
plaintiffs did not suffer injury from “additional costs and
                                                                  Amendment because like short-barreled shotguns, they are
logistical hurdles” in purchasing firearms, and explaining
                                                                  dangerous and unusual weapons. See United States v. Royce,
that laws imposing “minor inconveniences” are distinct from
                                                                  No. 1:22-CR-130, 2023 WL 2163677, at *3 (D.N.D. Feb. 22,
those effecting “an absolute deprivation” of the right to bear
                                                                  2023) (holding that short-barreled rifles and shotguns are “
arms); see, e.g., Saleem, 2023 WL 2334417 at *11 (W.D.N.C.
                                                                  ‘dangerous and unusual’ weapons that are easily concealable
Mar. 2, 2023) (explaining that “the NFA's registration and
                                                                  and thus not protected by the Second Amendment”); United
taxation requirements are of the type that the Supreme Court
                                                                  States v. Rush, No. 22-cr-40008-JPG, 2023 WL 403774, at *3
in Bruen determined were permissible”). Plaintiff does not
                                                                  (S.D. Ill. Jan. 25, 2023) (similar).
cite any language in the Final Rule that purports to ban
any of his pistols that are outfitted with stabilizing braces.
                                                                  This Court finds the analysis in the above-cited cases
Ultimately, under the Final Rule, Plaintiff may still possess
                                                                  persuasive and, based on the limited historical analysis
and sell his firearms that are equipped with stabilizing braces
                                                                  provided at this stage of litigation, this Court cannot conclude
upon registration with, and approval by, ATF.
                                                                  that the NFA and Final Rule are substantially likely to violate
                                                                  Plaintiff's Second Amendment rights. Therefore, the Court
                                                                  finds Plaintiff is not likely to succeed on the merits of his
      ii. Regulation of Short-Barreled Rifles Generally           Second Amendment claim based on the current record before
                                                                  the Court.
Finally, Plaintiff argues that the NFA and Final Rule are
unlawful because short-barreled shotguns and short-barreled
                                                                   *12 As failure to demonstrate likelihood of success on the
rifles are commonly owned and not unusually dangerous,
                                                                  merits as to at least one claim bars a TRO or preliminary
and thus protected by the Second Amendment. Dkt. 16 at
                                                                  injunction, the Court declines to analyze the other preliminary
30-31. Plaintiff further argues that there is no historical
                                                                  injunction factors at this stage. Alcorn, 157 F. Supp. 3d at 491.
analogue for the regulation of short-barreled rifles. Id. at
29. Defendants argue that the Second Amendment does not
protect the possession of short-barreled rifles or shotguns
because they are dangerous and unusual weapons which fall                                 IV. Conclusion
outside the protection of the Second Amendment. Dkt. 22 at
                                                                  In short, Plaintiff has not shown he is entitled to preliminary
37-40. Defendants also argue that even if short-barreled rifles
                                                                  relief. While there may have been some missteps by ATF
were covered by the Second Amendment, there is historical
                                                                  in effectuation of the interpretive rule, any of those errors
evidence of regulating firearms through taxation, registration,
                                                                  were harmless. Thus, though Plaintiff makes sound arguments
and licensing that can be traced to colonial times. Id. at 41.
                                                                  regarding the potential procedural violations of the APA, none
                                                                  of those arguments necessitate the extraordinary remedy of
Many cases pre-Bruen have held that short-barreled shotguns
                                                                  a Temporary Restraining Order or Preliminary Injunction.
are not subject to the Second Amendment.        Heller, 554       Accordingly, it is ORDERED that Plaintiff's Application for
U.S. at 625 (holding that the Second Amendment does               a Nationwide TRO and Injunction (Dkt. Nos. 16 and 17) is
not protect “weapons not typically possessed by law-              DENIED.
abiding citizens for lawful purposes, such as short-barreled
shotguns”); see also      United States v. Chester, 628 F.3d      The Clerk is directed to send a copy of this Order to counsel
673, 678-79 (4th Cir. 2010) (“[A] citizen's right to carry or     of record and to Plaintiff who is very effectively proceeding
keep sawed-off shotguns, for instance, would not come within      pro se.
the ambit of the Second Amendment.”). Courts have also
extended this analysis to short-barreled rifles envisioning no    Alexandria, Virginia
constitutional distinction between short-barreled rifles and


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                                                     Footnotes


1      A grant of temporary injunctive relief requires the movant to establish the same four factors that govern
       preliminary injunctions.    Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22, 20 (2008).

2
       Plaintiff argues that Defendants are not entitled to deference under   Chevron, U.S.A., Inc. v. Nat. Res. Def.
       Council, Inc., 467 U.S. 837 (1984) because of the procedural defects in the Final Rule. Dkt. 16 at 39. However,
       neither the agency nor the government relies on Chevron deference, so the Court declines to address whether
       deference may be applicable to this regulation. Dkt. 22 at 15 n.8; see    HollyFrontier Cheyenne Ref., LLC
       v. Renewable Fuels Ass'n, 141 S. Ct. 2172 (2021) (“[T]he government is not invoking Chevron. We therefore
       decline to consider whether any deference might be due its regulation.”).

3      The Court is aware that the Fifth Circuit issued an order in Mock v. Garland, No. 23-10319 (5th Cir. May
       23, 2023).

4      ATF initially estimated there were 3 million braces in circulation, but calculated anticipated costs based on
       7 million braces. RIA at 18.

5      A final regulation satisfies the logical outgrowth test if the changes in the proposed version “are in character
       with the original scheme,” and “the final rule is a ‘logical outgrowth’ of the notice and comments already
       given.” Mayor & City Council of Baltimore v. Azar, 439 F. Supp. 3d 591, 610 (D. Md. 2020), aff'd sub nom.
          Mayor of Baltimore v. Azar, 973 F.3d 258 (4th Cir. 2020).

6      Plaintiff also briefly takes issue with the fact that the factors in the Final Rule represent a change of position
       on the part of ATF. Dkt. 16 at 24. However, as required by the APA, ATF explained that the rule constituted
       a change of position and why it was preferable to the status quo. Fox Television Stations, Inc., 556 U.S.
       at 515-16. Further the Supreme Court has held “an agency must be given ample latitude to ‘adapt [its] rules
       and policies to the demands of changing circumstances.’ ”       Motor Vehicle Mfrs. Ass'n of U.S. v. State Farm
       Mut. Auto. Ins. Co, 463 U.S. 29, 42 (1983).

7      Plaintiff appears to concede that braces do not serve a purpose independent of their attachment to a firearm.
       Dkt. 26 at 14 (“By this statement, Defendants admit their Rule renders braces useless for any conceivable
       purpose and destroying their value—a cost Defendants did not include in their analysis.”).



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